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 8
                                 UNITED STATES DISTRICT OURT
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                              SOUTHERN DISTRICT OF CALIFORNIA
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11   FERNANDO RAUDA VALENZUELA,                       Case No. 21-CV-00165-DMS-BLM
12
     a Minor, By and Through His Guardian
     ad litem, CRISTAL CAZARES
13
     VALENZUELA; and SONIA
     VALENZUELA PEREZ, Individually,                  NOTICE OF SUBSTITUTION
14                         Plaintiff,
15         v.
16   TRI-CITY HEALTHCARE DISTRICT;
17
     TRI-CITY MEDICAL CENTER; VISTA
     COMMUNITY CLINIC, MELISSA
18
     HAWKINS, M.D.; ROMANA BAILEY,
     M.D.; and DOES 1 through 100,
19
     Inclusive,

20
                           Defendants

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22   TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD
23         PLEASE TAKE NOTICE that the Federal Defendants, through their attorneys,
24   Robert S. Brewer, Jr., United States Attorney, and Steve B. Chu, Assistant U.S.
25   Attorney, here by moves by operation of law, to wit, 42 U.S.C. § 233(c) and
26   28 U.S.C. § 2679(d), to substitute the United States of America into this case as the
27   sole defendant in place of Dr. Melissa Hawkins and Vista Community Clinic (“VCC”).
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 1         1.     Melissa Hawkins, M.D. has been named as an individual defendant in this
 2   lawsuit. Dr. Hawkins has been deemed to have been federal employees who was acting
 3   within the course and scope of her duties at all times relevant to Plaintiff’s Complaint.
 4   VCC has likewise been deemed to have been a federal entity acting within the course
 5   and scope of its duties at all times relevant to Plaintiff’s Complaint. As part of this
 6   notice, the Court is respectfully referred to the Certification of Scope of Employment
 7   filed concurrently with this notice.
 8         2.     This is a medical malpractice action. The Federal Tort Claims Act
 9   (FTCA), 28 U.S.C. §§ 1346(b), 2671, et seq., as amended by Public Law No. 100-694
10   (28 U.S.C. § 2679), provides that a suit against the United States under the FTCA shall
11   be the exclusive remedy for persons with common law tort claims allegedly resulting
12   from the actions of federal employees taken with the scope of their employment.
13         The FTCA, as amended, further provides that:
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           Upon certification by the Attorney General that the defendant employee was
15         acting within the scope of his office or employment at the time of the incident
           out of which the claim arose, any civil action or proceedings commenced upon
16         such claim in a United States district court shall be deemed an action against the
           United States under the provisions of this title and all references thereto, and the
17         United States shall be substituted as the party defendant.
18         28 U.S.C. § 2679(d).
19         3.     Accordingly, Dr. Hawkins and VCC are improper defendants, and the
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     United States should be substituted as the party defendant.
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           DATED:        January 28, 2021          Respectfully submitted,
23
                                                   ROBERT S. BREWER, JR.
24                                                 United States Attorney
25
26                                                    /s Steve B. Chu
27                                                 STEVE B. CHU
                                                   Assistant United States Attorney
28                                                 Attorneys for all Federal Defendants
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